EXHIBIT B
                                                            Page 1

1
2       UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
3       ------------------------------------------X
        JENNIFER S. FISCHMAN,
4
                                               PLAINTIFF,
5
6                   -against-                  Case No.:
                                               18-cv-08188
7
8       MITSUBISHI CHEMICAL HOLDINGS AMERICA, INC.;
        MITSUBISHI CHEMICAL HOLDINGS CORPORATION;
9       NICOLAS OLIVA, in his individual and
        professional capacities; DONNA COSTA, in
10      her individual and professional capacities;
        and JOHN DOES 1-10, in their individual and
11      professional capacities,
12                                 DEFENDANTS.
        ------------------------------------------X
13
14                       DATE: June 15, 2021
15                       TIME: 10:27 A.M.
16
17                DEPOSITION of the Plaintiff,
18      JENNIFER S. FISCHMAN, taken by the
19      Defendants, pursuant to a Court Order and
20      to the Federal Rules of Civil Procedure,
21      held at the offices of Gordon Rees Scully
22      Mansukhani LLP, One Battery Park Plaza,
23      28th Floor, New York, New York 10004,
24      before Enrique Alvarado, a Notary Public of
25      the State of New York.

                          Veritext Legal Solutions
     212-267-6868           www.veritext.com                 516-608-2400
                                                   Page 2

1
2       A P P E A R A N C E S:
3
4       VALLI KANE & VAGNINI
          Attorneys for the Plaintiff
5         JENNIFER S. FISCHMAN
          600 Old Country Road, Ste. 519
6         Garden City, New York 11530
          BY: MATTHEW L. BERMAN, ESQ.
7                    and
              SARA WYN KANE, ESQ.
8
9
        GORDON REES SCULLY MANSUKHANI LLP
10        Attorneys for the Defendants
          MITSUBISHI CHEMICAL HOLDINGS AMERICA,
11        INC, NICOLAS OLIVA and DONNA COSTA
          One Battery Park Plaza, 28th Floor
12        New York, New York 10004
          BY: MERCEDES COLWIN, ESQ.
13        File #: MCHEM-1135398
14
15      SHEARMAN & STERLING
          Attorneys for the Defendant
16        MITSUBISHI CHEMICAL HOLDINGS CORPORATION
          599 Lexington Avenue
17        New York, New York 10022
          BY: JERRY FORTINSKY, ESQ.
18
19
20      CLARICK GUERON REISBAUM
          Attorneys for the Defendant
21        DONNA COSTA
          220 Fifth Avenue
22        New York, New York 10001
          BY: NICOLE GUERON, ESQ.
23
24
25

                        Veritext Legal Solutions
     212-267-6868         www.veritext.com          516-608-2400
                                                         Page 3

1
2       ALSO PRESENT:
3                   Sam Jolly, Esq.
                    Shearman & Sterling
4
5                   Brittany L. Primavera, Esq.
                    Gordon Rees Scully Mansukhani LLP
6
7                   Nicholas Oliva
8                   Donna Costa
9
                    Deverell Write,
10                  Videographer
                    Veritext Legal Solutions
11
                        *          *               *
12
13
14
15
16
17
18
19
20
21
22
23
24
25

                              Veritext Legal Solutions
     212-267-6868               www.veritext.com          516-608-2400
                                                         Page 117

1                           J. FISCHMAN
2       during this time, met with you at least
3       three times a week to talk about evolving
4       into the general counsel role?
5               A.   I couldn't say that it was
6       three times a week.          It was certainly once
7       a week and it was certainly for several
8       hours at a time, sure.
9               Q.   And I understand that you were
10      taking notes during that time.
11              A.   Yes.
12              Q.   Extensive notes, in fact,
13      because these were hours that you were
14      spending with Ms. Costa; isn't that right?
15              A.   I would say I see some of them
16      on your table there, if I'm not correct.
17      Is that --
18              Q.   These are not your notes, those
19      are Ms. Saunders' notes.               Do you have
20      copies of the notes?
21              A.   So I do have some notes that I
22      took and we thought that we produced them,
23      but we can't find them in our production
24      last night so we'll be providing those.
25              Q.   Please do.

                            Veritext Legal Solutions
     212-267-6868             www.veritext.com               516-608-2400
                                                               Page 118

1                                  J. FISCHMAN
2                           MS. COLWIN:           I call for
3                   production.         That's responsive to our
4                   discovery demands so we appreciate
5                   that.
6                           MR. BERMAN:           We'll produce
7                   them.
8               A.          We just realized that they
9       weren't there, but also I took extensive
10      notes for eight years in my role as
11      corporate counsel, assistant general
12      counsel, and acting general counsel on
13      notepads like the one that you're writing
14      on, legal pads, that I left in my office
15      when I was escorted out after my
16      termination, and I'm sure that there's
17      responsive information on those notepads
18      that have not yet been produced so we'd
19      appreciate it if you guys would --
20              Q.          When you say responsive
21      information, you mean responsive to your
22      discovery demands of us; is that what
23      you're saying?
24              A.          Yes.
25              Q.          What did you do about becoming

                                   Veritext Legal Solutions
     212-267-6868                    www.veritext.com             516-608-2400
